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     RIMOUN MANSOUR
 6

 7
                    IN THE UNITED STATES DISTRICT COURT
 8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,     )        CR NO. S-10-0258 FCD
11                                 )
               Plaintiff,          )
12                                 )        ORDER EXTENDING TIME TO
          v.                       )        POST PROPERTY BOND
13                                 )
     RIMOUN MANSOUR,               )
14                                 )        Judge:   Hon. Gregory G.
               Defendant.          )                 Hollows
15   ______________________________)
                                   )
16
          For good cause appearing, the due date for posting of a
17
     secured property bond in this matter shall be continued from
18
     August 30, 2010, to September 13, 2010.
19
     IT IS SO ORDERED.
20
     Dated: September 2, 2010                 /s/ Gregory G. Hollows
21                                          _______________________
                                                 Hon. Gregory G. Hollows
22                                               US Magistrate Judge

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25   mansour.eot

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